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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION



  COMMODITY FUTURES TRADING
  COMMISSION, and                                 ORDER GRANTING THIRD INTERIM
                                                  FEE APPLICATION
  STATE OF UTAH DIVISION OF
  SECURITIES, through Attorney General
  Sean D. Reyes

       Plaintiffs,                                Civil No. 2:18-cv-00892-TC
         v.

 RUST RARE COIN INC., a Utah corporation,         Judge Tena Campbell
 GAYLEN DEAN RUST, an individual,
 DENISE GUNDERSON RUST, an individual,
 JOSHUA DANIEL RUST, an individual,               Magistrate Judge Dustin Pead

       Defendants;

 and

 ALEESHA RUST FRANKLIN, an individual,
 R LEGACY RACING INC, a Utah
 corporation, R LEGACY ENTERTAINMENT
 LLC, a Utah limited liability company, and R
 LEGACY INVESTMENTS LLC, a Utah
 limited liability company.

       Relief Defendants.
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        Before the Court is the third interim fee application (the “Fee Application”), ECF

 No. ______, submitted by Jonathan O. Hafen in his capacity as the Court-Appointed Receiver for

 Rust Rare Coin Inc., Gaylen Dean Rust, R Legacy Racing Inc., R Legacy Entertainment LLC, R

 Legacy Investments LLC, Denise Gunderson Rust, and Joshua Daniel Rust (collectively,

 “Defendants”) seeking approval by the Court for the expenses incurred by the Receiver; the

 Receiver’s counsel, Parr Brown Gee & Loveless (“Parr Brown”); and the Receiver’s accountants

 Berkeley Research Group (“BRG”), for the period of April 1, 2019 through June 30, 2019 (the

 “Application Period”), and authorization to pay all allowed fees and expenses from funds of the

 Receivership Estate.

        Based on the Fee Application and accompanying exhibits, and for good cause shown,

        IT IS HEREBY ORDERED that:

        1.      The Fee Application is GRANTED; and

        2.      The Receiver is hereby authorized to pay the fees and expenses incurred by the

 Receiver, Parr Brown, and BRG as follows:

                a.      Receiver:     $20,592 for fees.

                b.      Parr Brown:   $257,146 for fees and $10,388 for out-of-pocket expenses.

                c.      BRG:          $318,326.50 for fees and $3,856.16 for out-of-pocket

        expenses.

        3.      The Receiver and his professionals will not take any fees or be reimbursed for any

 expenses from the Receivership Estate until after the Receiver recovers at least three times the

 amount of the fees for the Estate, at which time the approved fees and expenses shall be paid.




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       DATED this __ day of ________, 2019.




                                                  Honorable Dustin B. Pead
                                                  United States Magistrate Judge




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